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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF COLUMBIA

BRENT KIDECKEL                                               |

                 Plaintiff                                   | CASE NO.:     1:24-cv-02907-CJN

           V.                                                |

                                                             |

THE FOREIGN NATION OF CANADA, et al.                         |

                 Defendants.                                 |

_______________________________________________|




NOTICE OF NON-COMPLIANCE, ADOPTION OF FRAUD ON A
 FOREIGN TRIBUNAL, AND RISK OF SPOLIATION BY GARY
  CAPLAN, CARMINE SCALZI, SCALZI CAPLAN LLP AND
        SCALZI PROFESSIONAL CORPORATION


Plaintiff Brent Kideckel hereby notifies this Court and all parties of continuing non-compliance
by the above-named Ontario-based attorneys and law firms, who have now:

  1.   Failed to respond to a formal litigation hold,

  2.   Knowingly ratified fraud on a foreign tribunal, and

  3.   Placed themselves at direct risk of spoliation sanctions and joinder as defendants in this
       matter.

These entities are not mere bystanders. They are now functionally entangled in the facts and
claims before this Court and are subject to all relevant procedural and evidentiary rules
governing litigation within the United States.
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                                                                         JUN 18 2025
                                                                     Clerk, U.S. District & Bankruptcy
                                                                     Court for the District of Columbia
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I. NON-COMPLIANCE WITH LITIGATION HOLD

Upon formal notice of their involvement in the conduct at issue, Scalzi Caplan LLP, Scalzi
Caplan Law Professional Corporation, Gary Caplan, and Carmine Scalzi were served with a
litigation hold. Under U.S. law, this hold triggered a binding duty to preserve all materials within
their possession, custody, or control.

To date, they have not responded. This is not a procedural oversight—it is a calculated act of
nonfeasance in defiance of established preservation obligations.

See:

  •    Zubulake v. UBS Warburg LLC, 220 F.R.D. 212, 218 (S.D.N.Y. 2003) (“Once a party
       reasonably anticipates litigation, it must suspend its routine document retention/
       destruction policy and put in place a ‘litigation hold.’”)

  •    Pension Comm. of Univ. of Montreal Pension Plan v. Banc of Am. Secs., LLC, 685 F.
       Supp. 2d 456, 466 (S.D.N.Y. 2010) (failure to issue or respond to a litigation hold may
       amount to gross negligence, though later decisions clarify it is a significant but not
       dispositive factor)

  •    Fed. R. Civ. P. 26(b)(1), 34(a)(1)

The risk of spoliation is both present and acute.




II. ADOPTION AND RATIFICATION OF FRAUD ON A FOREIGN
TRIBUNAL

The record reflects that Scalzi Caplan LLP employed Aram Simovonian, who prosecuted a
fabricated and procedurally abusive lawsuit in Ontario under the firm’s name. The foreign
litigation included:

  •    False and perjured affidavits,

  •    Illegitimate substituted service,

  •    Fabricated evidence relied upon by Canadian courts.
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Despite Simovonian’s termination, the firm has failed to disavow or correct the record. By
knowingly allowing its name and materials to remain uncorrected, the firm has ratified the
misconduct.

See:

  •    Restatement (Third) of Agency § 4.01 (“A principal is liable for the acts of its agent if it
       subsequently ratifies those acts by knowingly accepting their benefits or failing to
       repudiate them.”)

  •    United States v. Philip Morris USA Inc., 566 F.3d 1095, 1121 (D.C. Cir. 2009)


This constitutes fraud on the court, a sanctionable offense.

See also:

  •    Hazel-Atlas Glass Co. v. Hartford-Empire Co., 322 U.S. 238, 245–46 (1944)

  •    Chambers v. NASCO, Inc., 501 U.S. 32, 46 (1991)

  •    Aoude v. Mobil Oil Corp., 892 F.2d 1115, 1119 (1st Cir. 1989)



III. SUBJECT TO DISCOVERY — JURISDICTION OVER THE MATTER

Although based in Ontario, the named firms and individuals are now participants in conduct
central to this U.S. action. Jurisdiction over their actions has attached, and U.S. discovery rules
govern their conduct.

Discovery includes:

  •    Requests for production under Fed. R. Civ. P. 34,

  •    Subpoenas and depositions under Fed. R. Civ. P. 30 and 45,

  •    Preservation obligations under Fed. R. Civ. P. 26 and 37.

Canadian legal privilege will not bar discovery in this matter. U.S. courts routinely enforce
domestic discovery obligations over foreign confidentiality laws when needed to adjudicate
federal claims.
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See:

  •    Société Nationale Industrielle Aérospatiale v. U.S. District Court, 482 U.S. 522, 546
       (1987)

  •    In re Seroquel Prods. Liab. Litig., 244 F.R.D. 650, 661 (M.D. Fla. 2007)

Plaintiff has already issued courtesy notice of discovery. The grace period for voluntary
compliance has now expired.



IV. NOTICE TO THE COURT — RECKLESSNESS, LIABILITY, AND
ADDITION OF DEFENDANTS

Plaintiff respectfully advises the Court that:

  •    Scalzi Caplan LLP and its affiliated entities were placed on notice,

  •    They failed to respond,

  •    They have knowingly ratified misconduct,

  •    Their conduct endangers the integrity of this Court’s proceedings.


These failures support forthcoming motions under:

  •    Fed. R. Civ. P. 15(a)(2) — to amend the complaint,

  •    Fed. R. Civ. P. 20(a)(2) — for joinder of additional defendants,

  •    Fed. R. Civ. P. 37(e) — for sanctions based on spoliation,

  •    And the Court’s inherent power to protect its process.


Their misconduct is no longer speculative—it is evidentiary. Their absence from the caption will
not protect them from scrutiny under the Federal Rules.
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Respectfully submitted,




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June 11, 2025
